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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHEN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


ATARAH MCCOY                                     §
                                                 §
         Plaintiff,                              §
                                                 §
vs.                                              §       CIVIL ACTION NO.: 4:23-CV-04127
                                                 §       JUDGE CHARLES ESKRIDGE
                                                 §
SHAULIS BOOKER AND                               §
TELAMON CORPORATION                              §
                                                 §
         Defendants.                             §


                               PLAINTIFF’S TRIAL WITNESS LIST



      (1) Plaintiff intends to call the following witnesses:

             a. Atarah McCoy;

             b. Shaulis Booker;

             c. Corporate representative of Telamon Corporation;

             d. Officer C. McCray;

             e. Majid Sabahi, M.D.;

             f. Donald Baxter, M.D.;

             g. Remi Nader, M.D.;

             h. Yan Michael Li, M.D.;

             i. Aaron Filler, M.D.;

             j. Lorenzo Farolan, M.D.;

             k. Adam Locketz, M.D.;
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           l. Stan Smith;

           m. Any witnesses in the courtroom.

                                                           Respectfully Submitted,

                                                           DASPIT LAW FIRM

                                                           /s/ Kiernan McAlpine
                                                           Kiernan McAlpine
                                                           Texas State Bar No. 24058519
                                                           Fed. Bar No. 1132611
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                                                           Houston, Texas 77002
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                                                           ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing instrument was served on all
counsel of record in accordance with Rules 21 and 21a of the Federal Rules of Civil Procedure on
September 16, 2024.

                                                           /s/ Kiernan McAlpine
                                                           Kiernan McAlpine
